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                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA


                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

DAVID W. PATTON, M.D.         )
                              )
     Plaintiff,               )
                              )
v.                            )                         CASE NO.: ____________________
                              )
AMERITAS LIFE INSURANCE       )
CORP.; PHOENIX LIFE INSURANCE )
COMPANY,                      )                         REMOVED FROM CIRCUIT COURT
                              )                         OF JEFFERSON COUNTY, ALABAMA
     Defendants.              )                         CASE NO. 01-CV-2017-901347


                                      NOTICE OF REMOVAL

          Defendant AMERITAS LIFE INSURANCE CORP. ("Ameritas"), with the consent of

Defendant PHOENIX LIFE INSURANCE COMPANY ("Phoenix") hereby removes this case to

the jurisdiction of the United States District Court for the Northern District of Alabama pursuant

to 28 U.S.C. §§ 1332 and 1441 on the following grounds:

          1.      Plaintiff commenced this civil action against Ameritas and Phoenix in the Circuit

Court of Jefferson County Alabama (01-CV-2017-901347) on April 4, 2017. This notice is filed

within 30 days after service of the Summons and Complaint which occurred on April 13, 2017.

          2.      True and correct copies of all pleadings in the state court action are filed herewith

as Exhibit A pursuant to 28 U.S.C. § 1446.

                                   DIVERSITY JURISDICTION

          3.      This case is removable under 28 U.S.C. § 1332, there being complete diversity of

citizenship between Plaintiff and Defendants and the amount in controversy exceeds $75,000.




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          4.      Plaintiff David W. Patton is a resident of Jefferson County, Alabama. (Complaint

at ¶ 1.) Ameritas and Phoenix are both citizens of states other than Alabama as Plaintiff alleges.1

(See Complaint at ¶¶ 2 and 3.) The Complaint does not state an amount of damages but it asserts

that Plaintiff seeks to recover ongoing benefits under a policy of disability insurance. Under 28

U.S.C. § 1446(c)(2) of the amended rules, the Notice of Removal may assert that the amount in

controversy exceeds $75,000 exclusive of interest and costs. In addition, Ameritas asserts that

"State practice [in Alabama] . . . permits recovery of damages in excess of the amount

demanded" in a complaint. 28 U.S.C. § 1446(c)(2)(B); Ala.R.Civ.Pro. Rule 54(c).

          5.      Plaintiff Patton, in his complaint, alleges that he is a physician who now is totally

disabled, entitling him to monthly payments of long term disability benefits, which he alleges

Ameritas has refused to pay after he reached age 65. Under the terms of his policy, Patton would

be entitled to lifetime benefits if his claim had arisen from an "accident," whereas his benefits

end at age 65 if his disability resulted from a "sickness." Dr. Patton now claims that his disability

arose from an accident and he seeks benefits for the remainder of his lifetime.

          6.      Under the terms of this plan, the additional disability benefits sought by Patton in

his present condition (assuming a 5-year life expectancy) have a present value of $220,483. See

Exhibit B, Declaration of John Kirtley. Thus the amount in controversy exceeds the $75,000

threshold for this court's jurisdiction.

          7.      The U.S. Supreme Court held in Dart Cherokee Basin Operating Co. v. Owens,

___ U.S. ____, 135 S.Ct. 547 (2014), that a defendant's Notice of Removal "need include only a

plausible allegation that the amount in controversy exceeds the jurisdictional threshold. Evidence


          1
        Ameritas is a Nebraska corporation with its principle place of business in Lincoln,
Nebraska. Phoenix is a Connecticut corporation with its principle place of business in Hartford,
Connecticut.



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proving that amount is not necessary unless the plaintiff contests, or the court questions, the

defendant's allegations." Id. at 554. See 28 U.S.C. § 1446(c)(2)(B) See also, Hockenbury v.

Hanover Ins. Co., 2016 WL 54213 (W. D. Okla. 2016). Even where proof is required, the

defendant must adduce "facts that make it possible that $75,000 is in play" by estimating

potential damages from the allegations of the plaintiff's pleading. Hockenbury, 2016 WL 54213

at *2, citing McPhail v. Deere & Co., 529 F.3d 947, 955 (10th cir. 2008).

          8.      The phrase "in controversy . . . has never required a party . . . to show that

damages 'are greater' or will likely prove greater 'than the requisite amount' specified by statute."

Hammond v. Stamps.com, 844 F.3d 909, 912 (10th Cir. 2016). Instead, a "more modest" standard

applies, determined by whether "a fact finder might legally conclude that damages may exceed

the minimum." Id. at 911-12. "As the U.S. Supreme Court has held, [to justify remand] it must

appear to a legal certainty that the claim is really for less than the jurisdictional amount." Id.

"[E]ven if it is highly improbable that the plaintiffs will recover the amounts Defendants have

put into controversy, this does not meet the 'legally impossible' standard." Id.

          9.      Thus, given the Plaintiff's claim herein, which seeks ongoing "total disability"

benefits for the Plaintiff's lifetime, which (if he is successful) may reach $220,483 or more,

based on the mortality tables, it is clear that the amount "in controversy" exceeds the sum of

$75,000. Accordingly, this Notice of Removal is authorized under 28 U.S.C. § 1446(c) of the

amended rules.


          10.     Venue lies in the Northern District of Alabama because Plaintiff filed the state

court action in this judicial district. See 28 U.S.C. § 1441(a) and 1446(a).


          11.     Ameritas removes this action to federal court with the express consent of

Defendant Phoenix Life Insurance Company. See Exhibit C, Declaration of Consent to Removal.


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          12.    Ameritas has given written notice to all adverse parties of the filing of this Notice

of Removal as required by 28 U.S.C. § 1446(d). It also has filed a copy of this Notice of

Removal with the Clerk of the Circuit Court of Jefferson County, Alabama.


                                               Respectfully submitted

                                               /s/ Forrest S. Latta
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                                  CERTIFICATE OF SERVICE

        I hereby certify that the foregoing has been served upon below named counsel of record
herein via CM/ECF, email, fax or First Class U.S. Mail on this the 12th day of May, 2017, as
follows:

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                                               /s/ Forrest S. Latta
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